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IN THE UNITED STATES DISTRICT COURT@S y 0
FOR THE WESTERN DISTRICT OF TENNESSEEJU£ /5~ c
EASTERN DIVISION

 

RUDOLPH POWERS,
Plaintiff,
VS. No. 04-1248-T/Ar1

CORRECTIONS OFFICER SPRINGER,
ET AL.,

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Defendants.

 

ORDER DENYING MOTION FOR CONSOLIDATION OF THE FILING FEES
AND
ORDER GRANTlNG MOTION FOR EXTENSION OF TIME

 

The plaintiff, Rudolph Powers, an inmate at the Northwest Correctional Complex in
Tiptonville, Tennessee, filed a pro se complaint on October l, 2004. On June 6, 2005, the
Court entered an order assessing the district court filing fee of` $ l 50 pursuant to the Prison
Litigation Reform Act (“PLRA”), 28 U.S.C. § 191 5(a)-(b), and dismissing the case under
§ l915(e) and § 1915A(b). The judgment Was entered on the docket on June 8, 2005.
Plaintif`f` has now filed a notice of appeal and a document titled “Motion for Extensions of
Time. . . . and the Consoladation [sic] of the Filling [sic] Fees.”

ln both the notice of appeal and plaintiff” s motion, he asserts that he is not seeking
to proceed on appeal informal pauperis, but merely consolidation of the district court and

appellate filing fees. He apparently seeks an order directing the prison officials to forward

Thts document entered on the docket sheet ln compliance `
with Ru!e 58 and' or _79 (a) FRCP on @

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installment payments of 530 per month from his prison trust fund account until both fees are
paid in full.

Thc PLRA, which is a part of the in forma pauperis statute, sets out in detail the
procedure for assessing filing fees in prisoner cases. There is no provision in that statute
authorizing the Court to order prison officials to withdraw a particular amount each month,
such as 330, instead of the 20% of monthly deposits specified in the statute. Howevcr, if a
prisoner has both the district court filing fee and the appellate court filing fee outstanding,
the prison officials should withdraw 20% for each fee. Thus, while both fees are
outstanding, 40% of the monthly deposits should be withdrawn from the prisoncr’s trust
fund account and forwarded to the Clerk of Court until the district court fee is paid. When
only the appellate fee remains outstanding, the prison officials should resume forwarding
20% of the monthly deposits until that fee is also paid. See Lefkowitz v. Citi-Equitv Group,
Lng, 146 F.3d 609, 612 (8th Cir. 1998); Newlin v. Helman, 123 F.3d 429, 436 (7th Cir. 1997)
(holding that “fees for filing the complaint and appeal cumulate”).

The plaintiffs request for consolidation of the filing fees in the manner he requests
is DENIED. However, the Court hereby GRANTS plaintiff an additional thirty days from
the entry of this order in which to either pay the entire $255 appellate filing fee in full, or
submit his in forma pauperis affidavit with a certification by the trust fund officer and a trust
fund account statement l f plaintiff files the required documentation and the Court finds that

he is indeed indigent, the Court will assess the appellate filing fee in accordance with the

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PLRA, as explained above.1

If plaintiff fails to file the required documentation in a timely manner, the Court will
assess the entire filing fee without regard to the installment payment procedures and will
notify the Court of Appeals, who may dismiss the appeal for failure to prosecute under Fed.
R. App. P. 3(a)(2). If dismissed under these circumstances, the appeal will not be reinstated
despite the subsequent payment of the full filing fee and regardless of any request for pauper
status.

The Clerk will provide the plaintiff a copy of the correct affidavit form with this
order. The Clerk also is directed to mail a copy of this order to the United States Court of
Appeals for the Sixth Circuit.

lT IS SO ORDERED.

JAME D. TODD
UNIT D STATES DISTRICT JUDGE

/s/CMi/,, QMS'”
(/ f

DAT`E

 

l Ifthe filing fee is assessed pursuant to the PLRA, plaintiff remains free to send additional funds to the

Clerk on his own initiative, should lie so desire

 

DISTRICT oURT - wEsTER D'i'lsRCToF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:04-CV-01248 was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listedl

 

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Honorable J ames Todd
US DISTRICT COURT

